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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 RONALDO LIGONS; BARRY MICHAELSON;                    Case No. 15‐CV‐2210 (PJS/BRT)
 JOHN MILES; JANE MILES; JOHN STILES;
 JANE STILES; JOHN ROE; and JANE ROE,
 individually, and on behalf of those similarly
 situated,

                      Plaintiffs,
                                                                  ORDER
 v.

 MINNESOTA DEPARTMENT OF
 CORRECTIONS; THOMAS ROY, Minnesota
 Commissioner of Corrections in his official
 capacity; DR. DAVID A. PAULSON, MD, in his
 individual and his official capacities for actions
 under color of law as Medical Director,
 Minnesota Department of Corrections;
 NANETTE LARSON, in her individual and her
 official capacities for actions under color of law
 as Health Services Director, Minnesota
 Department of Corrections; and JOHN and
 JANE DOES A‐J, in their respective individual
 and official capacities for actions under color of
 law as staff of Minnesota Correctional
 Facilities, Stillwater and Faribault;

                      Defendants.



       In light of the notice of appearance of attorneys Michael Ciresi, Katie Crosby

Lehmann, and Andrew Mohring as lead counsel on behalf of plaintiffs, and in

accordance with the plan discussed at the July 26, 2017 hearing, IT IS HEREBY

ORDERED THAT:
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 1.    Defendants’ motion for summary judgment [ECF No. 104] is DENIED

       WITHOUT PREJUDICE.

 2.    Plaintiffs’ motions for partial summary judgment, for a preliminary

       injunction, to certify classes, and to exclude expert testimony [ECF

       Nos. 135, 136, 137, and 138] are DENIED WITHOUT PREJUDICE.

 3.    Plaintiffs’ motion [ECF No. 170] to amend the scheduling order to allow

       amendment of the second amended complaint [ECF No. 42] is GRANTED

       IN PART subject to the following conditions:

       a.    Plaintiffs may file a third amended complaint for the purpose of

             adding new proposed class representatives who:

             i.     are currently incarcerated;

             ii.    have at least two years left to serve on their sentences of

                    imprisonment;

             iii.   have chronic active hepatitis C infections for which the

                    Minnesota Department of Corrections has declined to give

                    them direct‐acting anti‐viral drugs; and

             iv.    have exhausted their administrative remedies.

       b.    Plaintiffs may not add new claims for relief, but may delete or

             narrow the claims pleaded in the second amended complaint. The



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                  Court encourages plaintiffs to consider bringing only an Eighth and

                  Fourteenth Amendment claim under 42 U.S.C. § 1983 for deliberate

                  indifference to a serious medical need, to seek only prospective

                  relief, and to seek relief only on behalf of prisoners with active

                  hepatitis C infections. That decision, however, is for plaintiffs to

                  make.

            c.    Plaintiffs must file their third amended complaint no later than

                  Monday, December 4, 2017.

     4.     Following the filing of the third amended complaint, the parties should

            meet with Judge Thorson to discuss any outstanding discovery needs.


Dated: October 4, 2017                      s/Patrick J. Schiltz
                                            Patrick J. Schiltz
                                            United States District Judge




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